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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


KING/MOROCCO                                                CIVIL ACTION

VERSUS                                                      NUMBER: 18-8952

BANNER CHEVROLET                                            SECTION: "J" (2)


                                  JUDGMENT


      Considering the court's Order, dated, April 2, 2019, filed herein,

      IT IS ORDERED, ADJUDGED AND DECREED that there be judgment in

favor of defendant, Banner of N.O., LLC, and against plaintiff, King/Morocco,

dismissing the plaintiff’s claims without prejudice.

      New Orleans, Louisiana, this 3rd day of April 2019.



                                              ____________________________________
                                              CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE
